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U.S. Department of Justice. ,
United States Marshals Service;

PROCESS RECEIPT AND RETURN 305,

See “Insiructions for Service of Process by US, Marshal”

 

 

 

 

 

PLAINTIFF RT ART D COURT CASE NUMBER
Dinli Metal Industrial Comipapy Wtal ( 3:06-CV-00787-R Me
DEFENDANT TYPE OF PROCESS
Galt Porter, Bill Peirce, Cobra Sports, Din}i USA.LLC (Counter-Plaintiff), Lee Bumett [Breach of Contract/Fraud
SU EEN neers enneme ret

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J Dinli Metal Industrial Company, Ltd.
pany
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
ee

isgSS De ling Par K, g wih (22 ‘ pa, ia VFodde .
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

       

 

Number of process to be
served with this Form 285 } 1

 

 

Kevin Perkins

 

. Number of parties to be
Vanacour Perkins PLLC served in this case 1
14675 Midway Road, Suite 100
Addison, Texas 75001 Check for service

on U.S.A.

 

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold

Fold

 

Attorney/Agent Eric Fein, Esq. 15455 Dallas Parkway, Suite 1225, Addison, Texas 75001
Dinli USA, Inc. (Subsidiary) Chen Nan Ku (Agent) 7408 Sugar Maple, Irving, Texas 75063
Dinli, L.P. (Subsidiary) Chen Nan Ku (Agent) 5616 Corporate Blvd. Suite 400B, Baton Rouge, LA 70816

 

Signature of Attomey ot! iginator requesting service on behalf of: LJ PLAINTIFF TELEPHONE NUMBER DATE
c COmnTee PLATT DEF
ix] DEFENDANT 972-865-6034

9/20/17
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

L acknowledge receipt for the total | Total Process | District of District to
number of process indicated. Origin
(Sign only for USM 285 if more /

than one USM 285 is submitted) nol 7 wo 7 dh } Ve of 7

I hereby certify and return that I E] have personally served , 0 have legal evidence of service, CJ have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc, shown at the address inserted below.

 

 

 

 

Signature of Authgrized USMS Deputy or Clerk Date
Serve

 

 

 

 

 

 

 

*
Hy! hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) C1 A person of suitable age and discretion
then residing in defendant's usual place

 

of abode
Address ‘compleie only different.than shown above) Date Time ¥
4 am
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» ==

 

 

Si bature of U.S. Marghal or D; :
i manner

Service Fee Tota! Mileage Charges| Forwarding Fee Total Charges Advance Deposits Amount owed ia U.S. Marshal® or

Vr » including endeavors) b ww (Amoutt of Revund
Os? FT /S.7% . "50 2 65 Fig pr
AG mils, Ax O / $0.00

REMARKS: yrAayirg (Y) Des ATTEM OED setvce 2 LeTeD Nodeets For EAC Few tq
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CovPany- Fein Sates WE 6 Coreerty, Atw 4 Dry) HEAL Foe USPAO FEES —hba es Preto NEP

Se re
DNEceee TED
PAT RPIRONTEUE 1 CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD

. NOTICE OF SERVICE

3 :
4. BELLING STATEMENT*: To be returned to the U.S, Marshal with payment, 4D 4

if any amount is owed. Please remit promptly payable to U.S. Marshal. Ww Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT ww)

 

 

 

 

 

 

 

 

Rev. 12/80
